Case 20-10343-LSS   Doc 8564-2   Filed 01/28/22   Page 1 of 4




            EXHIBIT A
            Case 20-10343-LSS   Doc 8564-2   Filed 01/28/22   Page 2 of 4



                          Mark H Kolman, Esq
                         9483 E Ironwood Bend
                          Scottsdale, AZ 85255
                                480-268-9025

                            December 5, 2021

Off cial Tort Claimants' Committee
c/o irk Pasich, Esq.

Re: In re: Boy Scouts of America et. al.
     United States Bankruptcy Court for the District of Delaware
      Case No. 20-10343 (LSS)

De , r Mr. Pasich:

         Itemized billing invoice for expert services, including
pr       aration of report, provided by Mark H Kolman in the above-
ca 1tioned matter:

N     ember 19, 2021
       Review coverage charts (.5), conference call w/ Pasich and
     ulman re: outline of information being sent and approach to
ev , luation - record notes (1.2)
                                      1.7

N vember 21, 2021
     I


       Review memo from Pasich/Schulman re: outline of
as · ignment (.5)
                                             .5
         Case 20-10343-LSS   Doc 8564-2    Filed 01/28/22   Page 3 of 4




No ember 22, 2021
    Conference call counsel re: issues and scheduling (.9)
                                          .9


No ember 29, 2021
     Review reservation of rights letters, settlement agreements,
ple dings and motions (3.1)
                                    3.1
No ember 30, 2021
     Review eight insurance policies and attachments (1.1);
em ils to Pasich LLP re: Claro report (.2)
                                    1.2
De ember 1, 2021
     Begin review of Claro allocations and memo (1.3),
co munications w/ Pasich LLP (.2), initial drafting of expert
re ort (.7)
                                          2.2

     Study Claro charts and memo ( .4 ), Work on expert report-
st dy and draft ( 5.5 ), communications w/ Pasich LLP ( .6 )
                                    6.5
D ember 3, 2021
     Work on expert report- review and revise (3.5), conf calls
Pa ich and Schulman re: report (.5), Zoom call w / Pasich re:
re ort (.4)
                                    4.4

 D cember 4, 2021
         Case 20-10343-LSS   Doc 8564-2   Filed 01/28/22   Page 4 of 4



      T/C Schulman re: pleadings list (.1), Review pleadings and
     ons reviewed for report and prepare list for counsel (.4),
Zo     call w/ Pasich re: finalizing report (.4), revise report for
clar ty and precision - send to Pasich LLP (1.1), t/c counsel re:
rep rt typos and calculations (.2), Review and revise report to
cor ect typos and calculations (.4)
                                       2.6

De mber 5, 2021
     T/Cs Schulman re: finalizing expert report (.5),
     munications counsel re: finalizing report (.5), Review and
rev se final report and prepare transmission to counsel ( 2.5);
                                     3.5

To 1Hours Billed through December 5, 2021- 26.6
                           Hourly rate $500.00
                           Total= $13,300



                             Very Truly Yours,


                             Mark H Kolman, Esq.
